Case 8:22-cv-01926-KKM-UAM Document 54 Filed 09/26/23 Page 1 of 2 PagelD 251

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
CITY OF TAMPA, ex rel.
Bradley Toston,
Plaintiff,
V. CASE NO.: 8:22-cv-01926-KKM-MRM
D&M ASSETS 1 LLC,

a Florida Limited Liability Company,
STEVEN P. WEDGE, and
LEI XUAN WEDGE,

Defendants.

STIPULATION FOR DISMISSAL

Plaintiff and Defendants, through undersigned counsel and pursuant to Rule
41(a)(1) of the Federal Rules of Civil Procedure, (Fed. R. Civ. P. 41(a)(1)),
stipulate that the above action be and it is voluntarily dismissed, with
prejudice. —

Dated: September 26, 2023

CERTIFICATE OF SERVICE
I, Carl Brody, HEREBY CERTIFY that on this 26th day of September
2023, I electronically filed the foregoing with the United States Court for the
Middle District of Florida e-filing portal with electronic notice to all parties.

Respectfully submitted,

#TID4178D0D2WFVv2
Case 8:22-cv-01926-KKM-UAM Document 54 Filed 09/26/23 Page 2 of 2 PagelD 252

#TID4I78D0D2WFVWv2

OFFICE OF THE CITY ATTORNEY,
CITY OF TAMPA, FLORIDA

By:__/s/ Carl Brody

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